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                                                                                   July 31, 2020
                                                                               KAREN MITCHELL
                                                                           CLERK, U.S. DISTRICT COURT
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